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                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MINNESOTA

 IN RE: PORK ANTITRUST LITIGATION
                                                     Civil No. 18-CV-1776 (JRT/JFT)
                                                     Honorable John R. Tunheim
  This Document Relates To:                          Honorable John F. Docherty
  All Actions




          DEFENDANTS’ RESPONSE TO CARINA VENTURES LLC’S
            LOCAL RULE 7.1 MEET AND CONFER STATEMENT

       Defendants Agri Stats, Inc., The Clemens Food Group, LLC., The Clemens
Family Corporation, Hormel Foods Corporation, JBS USA Food Company, Seaboard
Foods LLC, Smithfield Foods, Inc., Tyson Foods, Inc., Tyson Prepared Foods, Inc. and
Tyson Fresh Meats, Inc. (collectively “Defendants”) share the concerns raised by
Defendant Triumph Foods, LLC (“Triumph”) in its Response (ECF No. 1945) to Sysco
Corporation (“Sysco”) and Carina Ventures LLC’s (“Carina”) Motion for Substitution of
Plaintiff and accompanying Rule 7.1 Meet and Confer Statement (ECF Nos. 1940-41)
(“Motion”). Sysco and Carina allowed no time for meaningful engagement with any
Defendant before filing the Motion. Multiple Defendants requested, but no Defendant
has as of the time of this filing received, any information from Sysco or Carina that
would allow Defendants to evaluate what prejudice to Defendants may result from this
late substitution. Defendants cannot prepare a substantive response to the Motion
without such information. Because Sysco and Carina failed to meaningfully meet and
confer with Defendants prior to filing the Motion, the Motion should be denied.
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Dated: June 30, 2023                 Respectfully submitted,

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